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                        UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
IN RE:
                                                            Case No.: 15-37276
          Phyllis A. DeSalvo
                                                            Chapter: 13

                                                Debtor(s)   Judge Donald R. Cassling


                ENTRY OF APPEARANCE AND REQUEST FOR ALL NOTICES



        The undersigned, a duly qualified attorney admitted to practice before this Court, hereby
enters an appearance in the within captioned matter on behalf of CITIZENS BANK NA F/K/A
RBS CITIZENS NA, and/or its assigns and requests all notices, pleadings, motions, orders,
applications and other documents filed and/or served in this case be sent to them at the following
address:



                                                        Berton J. Maley ARDC#6209399
                                                        Rachael A. Stokas ARDC#6276349
                                                        Gloria C. Tsotsos ARDC#6274279
                                                        Jose G. Moreno ARDC#6229900
                                                        Peter C. Bastianen ARDC#6244346
                                                        Joel P. Fonferko ARDC#6276490
                                                        Codilis & Associates, P.C.
                                                        15W030 North Frontage Road, Suite 100
                                                        Burr Ridge, IL 60527
                                                        (630) 794-5300
                                                        C&A FILE (14-14-11222)

Dated November 11, 2015.


                                                        By: /s/ Peter C. Bastianen


NOTE: This law firm is a debt collector.
